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9.     Are you presently a member in good standing of the bars of the courts listed above?
       ©Yes ❑No
       If "No," please list all courts which you are no longer admitted to practice:




 10.   Have you ever been subject to a grievance proceeding or involuntary removal proceeding
       while a member of the bar of any state or federal court?
       ❑ Yes ©No
       If "Yes," please provide details:




 11.   Other than minor traffic offenses, have you ever been charged, arrested, or convicted of a
       criminal offense or offenses?
       ❑ Yes   ©No
       If "Yes," please provide details:




 12.   Please list all cases in the United States Bankruptcy Court, Northern District of Texas in
       which you have filed for pro hac vice in the past three years:
       Date of Application             Case No. and Style
                                           None




 13.   Local counsel of record:   Bruce E. Bagelman


 14.   Local counsel's address:    3102 Oak Lawn Ave., Ste. 777
                                   Dallas, Texas 75219




                                                                                         Continued,
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       I respectfully request to be admitted to practice in the United States Bankruptcy Court for
the Northern District of Texas for this cause only.

       I certify that I have read Dondi Properties Corp. V Commerce Says. & Loan Ass 'n, 121
F.D.R. 284 (N.D. Tex. 1988) (en bane), and the local civil and bankruptcy rules of this court and
will comply with the standards of practice adopted in Dondi and with the local civil and
bankruptcy rules.

       CI I am an ECF filer. I also certify that I have served a true and correct copy of this
document upon each attorney of record and filed the application via ECF with the payment of
$25.00

      0 I am not an ECF filer. I also certify that I have served a true and correct copy of this
document upon each attorney of record and the original upon the US Bankruptcy Court
accompanied with the $25.00 filing fee on



Mark S. Carder                                                      August 8, 2018
Printed Name of Applicant                                           Date




Signature of Applicant
